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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ELIZABETH PETROSINO, individually on behalf of
herself and others similarly situated
                               Plaintiff,                         No. 16-cv-7735 (NSR)

                                                                  OPINION & ORDER
       -against-
STEARN'S PRODUCTS, INC. D/B/A DERAE®,

                              Defendants.


NELSON S. ROMA.N, United States District Judge

       Plaintiff Elizabeth Petrosino, on behalf of herself and others similarly situated, commenced

this action against Stearn's Products, Inc., D/B/A Dera E®. (See Amended Comp!., ECF No. 19.)

Plaintiff brings claims sounding in: (!) violation of New York General Business Law§ 349; (2)

violation of New York General Business Law § 350; (3) breach of express warranty; (4) violation

of state consumer protection statutes; and (5) injunctive relief. Before the Court are Defendant's

Motion to Dismiss the Complaint pursuant to Federal Rules of Civil Procedure 12(b)(l) and (6),

and Defendant's Motion to Stay the case pursuant to the primary jurisdiction doctrine. For the

following reasons, Defendant's Motion to Dismiss is GRANTED in patt and DENIED in part with

leave to amend. The Motion to Stay is DENIED in its entirety.




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                                             BACKGROUND

       Plaintiff commenced this putative class action suit on August 31, 2016, in the Supreme

Court of the State of New York, County of Dutchess, (Notice of Removal, Exh. A, Complaint,

ECF No. 1) claiming that Defendant allegedly uses deceptive and misleading labeling on their

cosmetic products. (Amended Compl. (“Compl.”) ¶ 1, ECF No. 19.) Defendant removed this

action on October 3, 2016 pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. §

1332(d). (Notice of Removal ¶ 2.)1 On December 1, 2016, Plaintiff filed an Amended Complaint

seeking injunctive relief, punitive damages and claiming violations of New York General

Business Law (“GBL”) §§ 349 and 350, breach of express warranty, and violations of the

consumer protection statues of all fifty states.2

       Defendant Stearn’s Products, Inc. (“Stearn’s”), produces and markets a line of cosmetic

products throughout the United States. (Id. ¶ 6.) The packaging and labels of the cosmetics bear a

mark with the word “natural” surrounded by the phrases “cruelty free,” “paraben-free” and

“100% vegan.” (Id. ¶ 6.) The word “natural”, Plaintiff asserts, appears “in a prominent location”

on the labels and packages of all the products. (See id. ¶19.) Plaintiff purchased three of

Defendant’s products in New York: (1) Defendant’s Derma-e Anti-Wrinkle Vitamin A Retinyl




1
  Removal is proper under 28 U.S.C. § 1332(d) (2)(A) when: “the matter in controversy exceeds
the sum or value of $5,000,000, exclusive of interest and costs, and is a class action in which—
(A) any member of a class of plaintiffs is a citizen of a State different from any defendant.” In
this case, the named Plaintiff is a citizen of New York and Defendant Stearn’s Products, Inc.
(“Stearn’s”) is a corporation organized and existing under the laws of the state of California, with
its principal place of business in Simi Valley, California. (Notice of Removal ¶ 12–13.) Plaintiff
alleges that the amount in controversy exceeds $5,000,000 and the proposed class has at least
100 putative class members. (Id. ¶3.) Neither party contests this Court’s jurisdiction.
2
  Plaintiff also brought a cause of action pursuant to GBL § 350-a(1). Plaintiff now stipulates that
this cause of action be combined with the GBL § 350 claim. (Mem. of Law in Opp. to Def. Mot.
to Dismiss (“Pl. Opp.”) 13 n.5, ECF No. 41.)
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Palmitate Crème; (2) theDerma-e Firming DMAE Moisturizer; and (3) the Derma-e Hydrating

Night Crème. (Id. ¶ 32.)

        Plaintiff asserts that the word “natural,” as used by Defendant on the labels and

packaging of their cosmetic products, is misleading. Plaintiff posits that the reasonable consumer

would understand “natural” to mean that the products do not contain synthetic or artificial

ingredients. (Id. ¶ 17.) Despite the use of the word “natural,” many of Defendants products

contain a combination of 22 synthetic and/or artificial ingredients. (Id. ¶¶ 7–8.) Accordingly,

Plaintiff alleges that the use of the term “natural” on the cosmetic’s labels and packaging

deceives or misleads the reasonable consumer because a reasonable consumer would understand

“natural” to mean “that [the product] does not contain any synthetic or artificial ingredients.”

(See id. ¶¶ 9, 13, 17, 22.)

        Further, Plaintiff asserts that Defendant’s use of the word “natural” on the cosmetic’s

labels and packaging induced consumers, including Plaintiff and class members, to pay a

premium for the products. (Id. ¶ 18.) Specifically, Plaintiff and the class relied on the

representation in purchasing the products at a premium price above comparable alternatives that

are not represented to be natural. (Id.) Such a representation is especially effective because

consumers have become increasingly concerned with the effects of synthetic and chemical

ingredients in beauty products. Plaintiff alleges that Defendant capitalized on consumer’s

concerns by marketing their products as being natural when, in fact, they contain a number of

synthetic ingredients. (Id. ¶¶ 5–6.) If it had not been for the representation on the labels and

packaging, Plaintiff and the class members would not have been willing to purchase the product

at that the “premium price.” (Id.) Plaintiff further posits that Defendant did not disclose that

some of the ingredients in their cosmetics are synthetic and/or artificial. (Id. ¶ 17.)



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       Plaintiff alleges that Defendant’s deceptive representation and omission are material

because a reasonable person would attach importance to such information and would be induced

to act upon such information in making purchasing decisions. (Id. ¶ 20.) Plaintiff and class

members reasonably relied to their detriment on Defendant’s misleading representations and

omissions. (Id. ¶ 22.) Further, these “false, misleading, and deceptive misrepresentations and

omissions are likely to continue to deceive and mislead reasonable consumers and the general

public.” (Id.) Notwithstanding, “Plaintiff would purchase the Products again if the ingredients

were changed so that they indeed were ‘Natural.’” (Id. ¶¶ 47, 49.)

       The “natural” mark, Plaintiff alleges, appears on all of the cosmetic products within the

Defendant’s “product portfolio” subject to this suit. Further, she alleges that the three products

she purchased are substantially and sufficiently similar to the rest of the Defendant’s cosmetic

products that she did not purchase. The product’s similarity, she posits, authorizes her to bring

this class action suit on behalf of those similarly situated because Defendant’s customers were

“uniformly impacted” by Defendant’s purportedly misleading labeling. (Id. ¶¶ 32, 35.)

       Plaintiff claims that she and the alleged class suffered injuries as a result of the

representation and omission. Specifically that they: (1) “Paid a sum of money for Products that

were not what Defendant represented”; (2) “Paid a premium price for Products that were not

what Defendant Represented”; (3) “Were deprived of the benefit of the bargain because the

Products they purchased were different from what Defendant warranted”; and (4) “Were

deprived of the benefit of the bargain because the Products they purchased had less value than

what Defendant represented.” (Id. ¶ 24.)




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                               STANDARD ON A MOTION TO DISMISS

        On a motion to dismiss for lack of subject matter jurisdiction pursuant to Federal Rule of

Civil Procedure 12(b)(1), dismissal of a case is proper “when the district court lacks the statutory

or constitutional power to adjudicate it.” Nike, Inc. v. Already, LLC, 663 F.3d 89, 94 (2d Cir.

2011) (quoting Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000)). A plaintiff has the

burden of proving subject matter jurisdiction by preponderance of the evidence. Liranzo v.

United States, 690 F.3d 78, 84 (2d Cir. 2012); Morrison v. Nat'l Austl. Bank Ltd., 547 F.3d 167,

170 (2d Cir. 2008) (quoting Makarova, 201 F.3d at 113). “‘[J]urisdiction must be shown

affirmatively, and that showing is not made by drawing from the pleadings inferences favorable

to the party asserting it.’” Morrison, 547 F.3d at 170 (quoting APWU v. Potter, 343 F.3d 619,

623 (2d Cir. 2003)).

        On a motion to dismiss for “failure to state a claim upon which relief can be granted,”

pursuant to Federal Rule of Civil Procedure 12(b)(6), dismissal is proper unless the complaint

“contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)); accord Hayden v. Paterson, 594 F.3d 150, 160 (2d Cir. 2010).

“Although for the purposes of a motion to dismiss [a court] must take all of the factual

allegations in the complaint as true, [it is] ‘not bound to accept as true a legal conclusion couched

as a factual allegation.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). “While

legal conclusions can provide the framework of a complaint, they must be supported by factual

allegations.” Id. at 679.

        When there are well-pleaded factual allegations in the complaint, “a court should assume

their veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id.



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A claim is facially plausible when the factual content pleaded allows a court “to draw a

reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678.

Ultimately, determining whether a complaint states a facially plausible claim upon which relief

may be granted must be “a context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Id. at 679.

                                              DISCUSSION

       Defendant moves to dismiss the Amended Complaint for lack of subject matter

jurisdiction and failure to state a claim upon which relief can be granted. The Court takes the

arguments and claims in turn. Defendant’s motion is denied.

                                             I.      Standing

       Defendant asserts that Plaintiff lacks standing to seek prospective injunctive relief and to

bring a class action suit with respect to products she did not purchase. (Mem. of Points and

Authorities in Supp. of Stearn’s Products, Inc.’s Mot. to Dismiss the Amended Compl. (“Def.

Mot.”) 10–12, ECF No. 40.)

                            a. Standing to Seek Prospective Injunctive Relief

       Plaintiff seeks class-wide injunctive relief pursuant to Federal Rules of Civil Procedure

23(b)(1) and (2). (Compl. ¶ 47.) Defendant argues that injunctive relief is improper because

Plaintiff does not allege that she would purchase the products in question again, but rather, that

she would only purchase the products again if Defendants changed the ingredients as to make the

“natural” label truthful. (Def. Mot. 10–11.) Plaintiff argues that she has standing to seek injunctive

relief because a claim for injunctive relief pursuant to New York consumer protection statutes only

requires allegations that a product’s labeling or marketing is misleading to a reasonable consumer.

(Mem. of Law in Opp. to Def. Mot. to Dismiss (“Pl. Opp.”) 4, ECF No. 41.)



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       A plaintiff fulfills the federal constitutional requirements for Article III standing by

alleging an actual case or controversy. Buonasera v. Honest Co., Inc., 208 F. Supp. 3d 555, 564

(S.D.N.Y. 2016). In order to satisfy this jurisdictional requirement, “(1) the plaintiff must have

suffered an injury-in-fact; (2) there must be a causal connection between the injury and the

conduct at issue; and (3) the injury must be likely to be redressed by a favorable decision.”

Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir. 2016) (quoting Jewish People for the

Betterment of Westhampton Beach v. Vill. of Westhampton Beach, 778 F.3d 390, 394 (2d Cir.

2015)). Plaintiff must demonstrate standing for each claim and form of relief sought. Id. A

named Plaintiff seeking to represent a class must abide by these same standing requirements. Id.

(citing Lewis v. Casey, 518 U.S. 343, 357 (1996)).

        “A plaintiff lacks standing for injunctive relief where the complaint fails to establish a

real or immediate threat of injury.” Izquierdo v. Mondelez International, Inc., No. 16-cv-04697

(CM), 2016 WL 6459832, at *5 (S.D.N.Y. Oct. 26, 2016) (quotations and citation omitted).

When seeking injunctive relief, Plaintiff may not rely on a past injury, but rather, must

“demonstrate that she is likely to be harmed again in the future in a similar way.” Nicosia, 834

F.3d at 239. As both the Supreme Court and Second Circuit articulated, “threatened injury must

be certainly impending to constitute injury in fact, and [] [a]llegations of possible future injury

are not sufficient.” American Civil Liberties Union v. Clapper, 785 F.3d 787, 800 (2d Cir. 2015)

(quotations omitted) (citing Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)); see also

City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983) (“[This] equitable remedy is unavailable

absent a showing of irreparable injury, a requirement that cannot be met where there is no

showing of any real or immediate threat that the plaintiff will be wronged again—a likelihood of

substantial and immediate irreparable injury”) (quotations and citation omitted).



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       Taken together, it is abundantly clear that, generally, a Plaintiff who has only suffered

past injuries does not have standing under Article III of the federal constitution. The question of

whether a Plaintiff seeking injunctive relief for consumer deception “will be able to demonstrate

standing where, as here, they allege they would buy the products in the future if not mislabeled”

is, however, unsettled in this Circuit. Podpeskar v. Dannon Company, Inc., 16-cv-8478 (KBF),

2017 WL 6001845, at *4 n.2 (S.D.N.Y. Dec. 3, 2017) (collecting cases).

       That question is squarely before this Court. Defendant and Plaintiff cite to a series of

cases both inside and out of this district. Plaintiff primarily asks the Court to follow the Eastern

District of New York’s holdings in Ackerman v. Coca-Cola Co., No. 09 CV 395(DLI)(RML),

2013 WL 7044866, at *15, n.23 (E.D.N.Y. July 18, 2013) (report and recommendation) and

Belfiore v. Procter & Gamble Co., 311 F.R.D. 29, 67 (E.D.N.Y. 2015) which found that

Plaintiffs had standing to seek injunctive relief under the New York consumer protection statutes

even though they did not convey an intent to purchase the product at issue in the future.

Defendant, on the other hand, directs the Court’s attention to a series of cases including Albert v.

Blue Diamond Growers, 151 F. Supp. 3d 412, 417–18 (S.D.N.Y. 2015) which explicitly reject

Ackerman and found that Plaintiff lacked standing to seek injunctive relief because Plaintiff did

not allege that they would purchase the product again.

       This Court now finds, as it has done before, that a Plaintiff in a consumer protection suit

has standing to seek injunctive relief regardless of any promises to purchase the products in

questions in the future. Furthermore, “if magic words are required,” a Plaintiff certainly has

standing when they, as is the case here, assert that they will purchase a product in the future if

the ingredients are changed so that the product is not mislabeled. Goldemberg, 317 F.R.D. at

397–398 (granting certification of an injunctive class and holding that “if magic words are



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required,” a Plaintiff’s allegation that they would only purchase the product at issue again if the

misleading label was corrected was sufficient to confer Article III standing).3 In this case,

Plaintiff twice conveyed a willingness to purchase Defendant’s product when she stated that she

“would purchase the Products again if the ingredients were changed so that they indeed were

‘Natural.’” (Compl. ¶¶ 47, 49). Although not necessary, this conditional statement sufficiently

conveys Plaintiff’s intention of purchasing Defendant’s products once Defendant changes the

ingredients so that the product is not mislabeled. The fact that “Plaintiff would continue to

purchase the Products in the future if the misleading labeling is corrected is sufficient to

demonstrate an intent to purchase products in the future that subjects them to future harm.”

Goldemberg, 317 F.R.D. at 397 (quotations and citation omitted). Thus, Plaintiff has standing to

seek injunctive relief.

                                 b. Standing as to Unpurchased Products

       Defendant next claims that Plaintiff lacks standing to represent a class comprised of some

individuals who purchased some of the Defendant’s products she did not. (Def. Mot. 11.)

Defendant posits that Plaintiff fails to allege facts to suggest that the unpurchased products are



3
 This Court’s decision to grant standing for injunctive relief in Goldemberg stems from the
palpable principle that once a consumer learns of an alleged deception, she would, rationally,
abstain from purchasing the item. Goldemberg, 317 F.R.D. at 397. To hold that Article III
standing is barred if a Plaintiff abstains from purchasing an item until the deception is cured
would effectively neuter any attempt at seeking class-wide injunctive relief. This Court largely
agreed with the decision in Belfiore which conveyed this ill-advised result:

       To hold [that plaintiff lacks Article III standing] would denigrate the New York
       consumer protection statute, designed as a major support of consumers who claim
       to have been cheated. The only way a consumer could enjoin deceptive conduct
       would be if [s]he were made aware of the situation by suffering injury. But once
       the consumer learned of the deception, [s]he would voluntarily abstain from
       buying and therefore could no longer seek an injunction.

Belfiore, 311 F.R.D. at 67 (citation omitted).
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substantially similar to the products she purchased especially because the cosmetic products

contain varying formulations and ingredients. (Id.) Plaintiff retorts by claiming that it is

premature for the Court to decide whether Plaintiff has standing to assert claims as to the

unpurchased products at the motion to dismiss phase. (Pl. Opp. 5.) The Court agrees with the

Plaintiff.

        Standing in the class action context requires a bifurcated inquiry. First, Plaintiff must

establish the minimum requirements of Article III standing, see Lujan v. Defenders of Wildlife,

504 U.S. 555, 560 (1992), meaning, that “for every named defendant there must be at least one

named plaintiff who can assert a claim directly against that defendant.” NECA-IBEW Health &

Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 159 (2d Cir. 2012). To demonstrate

Article III standing, “a plaintiff must allege (1) an injury in fact (2) fairly traceable to

defendant['s] actions that is (3) redressable by the requested relief.” Id. at 158 (citing Lujan, 504

U.S. at 560-61).

        Second, following a finding of Article III standing, “the inquiry shift[s] to a class action

analysis.” Id. at 159. A Plaintiff has class standing if she plausibly alleges “(1) that [s]he

personally has suffered some actual . . . injury as a result of the putatively illegal conduct of the

defendant, and (2) that such conduct implicates the same set of concerns as the conduct alleged

to have caused injury to other members of the putative class by the same defendants.” Id. at 162

(quotations and citations omitted).

        In this case, there is no dispute that Plaintiff has Article III standing to assert claims

based on her purchases of Defendant’s Derma-e Anti-Wrinkle Vitamin A Retinyl Palmitate

Crème, Derma-e Firming DMAE Moisturizer, and the Derma-e Hydrating Night Crème. Instead,

Defendant disputes whether Plaintiff has standing to assert claims on behalf of consumers who



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purchased other cosmetic products she did not. (Def. Mot. 11–12.) Although it is true that there

is disagreement as to whether it is appropriate to determine class standing at the motion to

dismiss stage, see Buonasera, 208 F. Supp. 3d at 562–63 (collecting cases), this Court is

compelled to follow the approach of other decisions in this circuit and the Court’s own

precedent. 4 Segovia v. Vitamin Shoppe, Inc., 14-CV-7061 (NSR), 2016 WL 8650462, at * 3

(noting that “Once Plaintiffs have satisfied their Article III standing requirements, ‘NECA-IBEW

thus instructs that . . . their ability to represent putative class members who purchased products

plaintiffs have not themselves purchased is a question for a class certification motion’”) (citing

In re Frito-Lay N. Am., Inc. All Nat. Litig., No. 12–MD–2413 (RRM)(RLM), 2013 WL 4647512,

at *12 (E.D.N.Y. Aug. 29, 2013)); Segedie v. Hain Celestial Group, Inc., No. 14–cv–5029

(NSR), 2015 WL 2168374, at *11 (S.D.N.Y. May 7, 2015) (declining to address class standing at

the motion to dismiss stage and noting that the Court would address the issue at a later time);

Hidalgo v. Johnson & Johnson Consumer Companies, Inc., 148 F. Supp. 3d 285, 296–97

(S.D.N.Y. 2015) (“But because the parties have not yet had the opportunity to conduct discovery

about whether [Plaintiff’s] injuries ‘implicate[ ] the ‘same set of concerns' as the conduct alleged

to have caused injury to other members of the putative class,’ [Defendant’s] motion to strike the

class allegations is denied as premature. [Defendant] may re-assert these arguments, if

applicable, at the class certification stage.”); Ault v. J.M. Smucker Co., No. 13 Civ. 3409, 2014

WL 1998235, at *7 (S.D.N.Y. May 15, 2014) (finding that the issue of class standing is a

question the Court will consider on a Rule 23 certification motion); see also Moses v. Apple



4
  Defendant cites to Goldemberg v. Johnson & Johnson Consumer Co., Inc., 317 F.R.D. 374
(2016) where this Court analyzed whether Plaintiff had class standing. Defendant asserts that
Goldemberg stands for the proposition that a class standing analysis should likewise be taken in
this case. The Court declines to do so. Goldemberg required the class standing analysis because
in that case, unlike here, a motion for class certification was before the Court.
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Hospitality REIT Inc., 14-CV-3131 (DLI)(SMG), 2016 WL 8711089, at *4 (E.D.N.Y. Sept. 30,

2016) (holding that “[s]ince Plaintiff has Article III standing, the more prudent approach is to

analyze class standing at the class certification stage because the Plaintiff has already established

a case or controversy between the parties”). Thus, since the parties do not dispute Plaintiff’s

Article III standing, the Court defers consideration of the class standing question to the class

certification stage.5

                II.     Claims under New York General Business Law §§ 349 and 350

        Defendant argues that Plaintiff’s GBL §§ 349 and 350 claims should be dismissed for

failure to state a claim upon which relief can be granted pursuant to Federal Rule of Civil

Procedure 12(b)(6). Defendants first argue that Plaintiff fails to allege sufficient facts to show

that the products at issue are not “natural” and that as a result, all causes of actions should be

dismissed. (Def. Mot. 13.)

        Second, the Defendant attacks each of Plaintiff’s claims individually. Defendant argues

that even if Plaintiff’s definition of natural is reasonable, she still fails to plead sufficient factual

allegations supporting a finding that Defendant engaged in a “deceptive act” under GBL § 349.

(Def. Mot. 19.) Defendant also argues that Plaintiff failed to allege the likelihood of a deceptive

act because Plaintiff’s definition of “natural” is unreasonable under § 350. Plaintiff retorts by

claiming that Defendant essentially seeks a finding that as a matter of law no reasonable

consumer could be misled into believing that the product is “all natural” or “100% natural” and

that natural is a “non-actionable subjective statement.” (Pl. Opp. 9.) Further, Plaintiff argues that




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  It bears noting that this Court performed a cursory analysis of the class standing inquiry in
Segovia in order to distinguish the findings in DiMuro v. Clinique Labs., LLC, 572 F. App’x. 27
(2d Cir. 2014) (sum. order). See Segovia, 2016 WL 8650462, at *3. Such an analysis is not
warranted here.
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the Complaint clearly identifies and describes the alleged misrepresentation on the label, and that

there is “simply nothing implausible about the assertion that Defendant knew its ‘natural’ claim

was false.” (Pl. Opp. 12.)

       Defendant essentially asks this Court to make a finding that Plaintiff’s interpretation of

the term “natural” is unreasonable, that Defendant’s products are actually natural, and that

Plaintiff did not make sufficient factual allegations to support the plausibility of a deceptive act.

The Court declines such a finding. Defendant’s motion is denied because Plaintiff properly plead

that Defendant engaged in a deceptive act and the Court cannot find that Plaintiff’s definition of

“natural” is unreasonable as a matter of law at this juncture.

       New York’s GBL §§ 349 and 350 prohibit “[d]eceptive acts or practices in the conduct of

any business, trade, or commerce or in the furnishing of any service in this state” and materially

misleading advertising, respectively. GBL §§ 349(a), 350. To recover under GBL § 349, a

plaintiff must prove “that a defendant has engaged in (1) consumer-oriented conduct that is (2)

materially misleading and that (3) plaintiff suffered injury as a result of the allegedly deceptive

act or practice.” Koch v. Acker, Merrall & Condit Co., 967 N.E.2d 675 (2012).

       While GBL § 350 relates specifically to false advertising, “the standard for recovery

under § 350 . . . is otherwise identical to section 349.” Goshen v. Mut. Life Ins. Co. Of N.Y., 774

N.E.2d 1190, 1195 n.1 (2002); see also Koch v. Greenberg, 14 F. Supp. 3d 247, 261 (S.D.N.Y.

2014) (noting that a claim under GBL § 350 has the additional requirement that it relate to false

advertising) (citing Andre Strishak & Associates, P.C. v. Hewlett Packard Co., 752 N.Y.S.2d

400, 403 (2d Dept. 2002)), aff'd, 626 F. App’x 335 (2d Cir. 2015) (summ. order). “False

advertising” is defined by the GBL as “advertising, including labeling.” GBL § 350-a. A Plaintiff

need not prove reliance on the alleged false advertising under GBL § 350. Koch, 967 N.E.2d at



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676 (“To the extent that the Appellate Division order imposed a reliance requirement on General

Business Law §§ 349 and 350 claims, it was error. Justifiable reliance by the plaintiff is not an

element of the statutory claim.”); Segovia, 2017 WL 6398747, at *3 n.1.

         As a preliminary matter, the Court need not find whether Defendant’s products are

“natural” within any given definition. General Business Law §§ 349 and 350 employs an

objective standard under which a fact finder must find if the “natural” label, is misleading to a

reasonable consumer acting reasonably. Ault, 2014 WL 1998235, at *5 (citing Cohen v. JP

Morgan Chase & Co., 498 F.3d 111, 126 (2d Cir. 2007)). Plaintiff need not establish whether the

product is not “natural” but rather, if a reasonable consumer acting reasonably would be misled.

Therefore, since GBL §§ 349 and 350 employ an objective standard, Defendant’s argument that

Plaintiff did not provide sufficient factual allegations to show that their product was not natural

fails.

         Next, this Court cannot find at this stage that Plaintiff’s definition of “natural” is

unreasonable as a matter of law. As this Court has previously stated, “[i]t is not unreasonable as

a matter of law to expect that a product labeled ‘natural’ or ‘all natural’ contains only natural

ingredients.” Segedie, 2015 WL 2168374, at *11. This is true even if mildly qualifying language

or synthetic ingredients are listed on the product’s packaging. See id. Therefore, Plaintiff must

only alleged “that ‘natural’ communicates the absence of synthetic ingredients.” Id. Defendant’s

argument fails for the same reasons expressed in Segedie. Here, like in Segedie, Plaintiff

provided a definition for the term “natural,” and alleged that the term means that a product is free

of synthetic ingredients. (Compl. ¶ 11.). Accordingly, the Court cannot find that it is

unreasonable as a matter of law for a person to expect that a product labeled “natural” contain




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only non-synthetic ingredients. Ultimately, the question is one of reasonableness and cannot

typically be resolved on a Rule 12(b)(6) motion. Id. Defendant’s motion is denied.

       Next, Defendant’s claim that Plaintiff did not sufficiently plead a deceptive act or scheme

also fails. Section 349 is “directed at wrongs against the consuming public,” Oswego Laborers'

Local 214 Pension Fund v. Marine Midland Bank, N.A., 647 N.E.2d 741, 744 (1995), and was

enacted to protect consumers from sellers’ deceptive practices. Id. “A ‘deceptive act’ or ‘false

advertisement’ is a material statement that is ‘likely to mislead a reasonable consumer acting

reasonably under the circumstances.’” Ault, 2014 WL 1998235, at *5 (citing Cohen, 498 F.3d at

126); Food Parade, Inc. v. Office of Consumer Affairs of Cty. of Nassau, 859 N.E.2d 473, 477

(2006). This is an objective test, Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d 274, 287

(S.D.N.Y. 2014), and courts “view each allegedly misleading statement in light of its context on

the product label or advertisement as a whole.” Delgado v. Ocwen Loan Servicing, LLC, No. 13–

CV–4427 (NGG)(RML), 2014 WL 4773991, at *8 (E.D.N.Y. Sept. 24, 2014) (citation and

quotation marks omitted). “The entire mosaic” is “viewed rather than each tile separately.” Time

Warner Cable, Inc. v. DIRECTV, Inc., No. 06 Civ. 14245(LTS)(MHD), 2007 WL 1138879, at *4

(S.D.N.Y. Apr. 16, 2007) (citation omitted). Moreover, “[i]ntent to defraud and justifiable

reliance by the plaintiff are not elements of the statutory claim.” Small v. Lorillard Tobacco Co.,

Inc., 720 N.E.2d 892, 897 (1999); accord Oscar v. BMW of North America, LLC, 274 F.R.D.

498, 512 (S.D.N.Y. 2011).

       Plaintiff properly pleaded that Defendant committed a deceptive act by labeling their

products “natural” despite having synthetic ingredients. Here, a reasonable consumer acting

reasonably very well could be misled because they could conclude that the “natural” label on the

cosmetics means that they are made with all natural products. See Goldemberg, 8 F. Supp. 3d at



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479–80 (noting that the Court could not hold as a matter of law that a label touting Defendant’s

products as “All Natural” was not misleading). Here, Plaintiff alleges that Defendant’s labeling

of their products as being “natural” is misleading in a material way because the product contains

synthetic ingredients, and the label induced Plaintiff and class members to purchase and pay a

premium for Defendant’s products and to use the Products when they otherwise would not have.

(Pl. Opp. 13.) Further, Plaintiff alleged that Defendant sought to capitalize on consumer trends

related to the use of natural products and therefore advertised their products as “natural.”

Plaintiff also alleges that Defendant placed the label on their products despite knowing that they

contained synthetic ingredients. The Court finds that these asserted allegations are sufficient to

state a claim upon which relief can be granted because if accepted as true, would suggest that a

reasonable consumer acting reasonably would be misled by the term “natural” on a product’s

label, despite the product containing synthetic ingredient. The question of whether Defendant’s

label is actually misleading to a reasonable consumer as a matter of law, however, is a question

of fact better suited for the jury. Buonasera, 208 F. Supp. 3d at 566. Defendant’s motion is

denied.6




6
  Defendant also asserts that the term “natural” is mere puffery, and is not an actionable
statement. This argument is rejected. “Puffery is an exaggeration or overstatement expressed in
broad, vague, and commendatory language.” Kacocha v. Nestle Purina Petcare Company, 2016
WL 4367991, at *16 (S.D.N.Y. Aug. 12, 2016) (quotations and citation omitted). The Court is
not convinced that the term “natural” on the cosmetic’s labels and packaging can be construed as
mere puffery. The term “natural” is an affirmative claim about a product’s qualities and is,
therefore, not “an exaggeration or overstatement expressed in broad, vague, and commendatory
language.” C.f. Ault, 2014 WL 1998235, at *6 (holding that Defendant's labeling of their product
as “All Natural” is an actionable warranty); see also ECA, Local 134 IBEW Joint Pension Trust
of Chicago v. JP Morgan Chase Co., 553 F.3d 187, 206 (2d Cir. 2009) (noting that “puffery”
includes “statements [that] are too general to cause a reasonable investor to rely upon them”).
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                               III.    Breach of Express Warranty Claim

       Defendant argues that this claim should be dismissed because Plaintiff did not properly

plead the privity and pre-suit notice elements of a breach of express warranty claim and that

“natural” is not an actionable warranty. (Def. Mot. 21–22.) Plaintiff argues that privity is not a

required element, that pre-suit notice was given, and that ”natural” is an actionable warranty. (Pl.

Opp. 14–18.) Defendant’s motion is granted because Plaintiff did not sufficiently plead that they

provided proper notice to the Defendant.

       To state a claim for breach of express warranty in New York, “‘a plaintiff must allege (1)

the existence of a material statement amounting to a warranty, (2) the buyer’s reliance on this

warranty as a basis for the contract with the immediate seller, (3) breach of the warranty, and (4)

injury to the buyer caused by the breach.’” In re Scotts EZ Seed Litigation, 304 F.R.D. 397, 410

(S.D.N.Y. 2015) (citing Goldemberg, 8 F. Supp. at 482)).

       To recover on a breach of warranty claim under New York law, the buyer of the allegedly

mislabeled product “must within a reasonable time after [s]he discovers or should have

discovered any breach notify the seller of breach or be barred from any remedy.” N.Y. U.C.C. §

2-607(3)(a). To satisfy the pre-suit notice requirement “the notice given by plaintiff had only to

‘alert [defendant] that the transaction [was] troublesome and [did] not need to include a claim for

damages or threat of future litigation.’” Cliffstar Corp. v. Elmar Industries, Inc., 678 N.Y.S.2d

222, 223 (4th Dept. 1998) (citing Computer Strategies v. Commodore Bus. Machs., 483

N.Y.S.2d 716, 723 (2d Dept. 1984)). “[R]equiring notice is designed to defeat commercial bad

faith, not to deprive a good faith consumer of his remedy.” N.Y. U.C.C. § 2–607 cmt. 4. “[T]he

sufficiency and timeliness of the notice is generally a question for the jury.” Sullivan v. Aventis,

Inc., No. 14–cv–2939–NSR, 2015 WL 4879112, at *8 (S.D.N.Y. Aug. 13, 2015) (citing



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Tomasino v. Estee Lauder Cos. Inc., 44 F. Supp. 3d 251, 260 (E.D.N.Y. 2014)). “New York

cases applying N.Y. U.C.C. § 2–607(3) suggest that a plaintiff's pleadings may constitute

reasonable notice in certain cases.” Tomasino, 4 F. Supp. 3d at 261 n.6.

       Plaintiff alleges that they placed Defendant on pre-suit notice. Specifically, the complaint

states that within “a reasonable time after they knew or should have known of Defendant’s

breach, Plaintiff, on behalf of herself and Class Members, placed Defendant on notice of its

breach, giving Defendant an opportunity to cure their breach, which they refused to do.” (Compl.

¶ 91.) This allegation, alone, is insufficient to plead pre-suit notice. Plaintiff must provide factual

allegations, as opposed to conclusory statements, supporting the contention she notified

Defendant of the alleged breach within a reasonable time after discovering them. Tyman v.

Pfizer, Inc., No. 16 CV 6941 (LTS)(BCM), 2017 WL 6988936, at *22 (S.D.N.Y. Dec. 27, 2017),

report and recommendation adopted at 2018 WL 481890 (S.D.N.Y. Jan. 18, 2018); see also In

re Frito-Lay, 2013 WL 4647512, at *27 (dismissing Plaintiff’s breach of warranty claim because

Plaintiff “fail[ed] to allege in the First Amended Complaint that they even provided sufficient

notice to defendants of their express warranty claims under Florida and New York law, let alone

notice within a reasonable time after discovery of a breach”). Proper factual allegations should,

at least, include the date and method by which Plaintiff afforded such notice to Defendant.

Consequently, because Plaintiffs failed to allege any facts supporting the allegation that that she

notified Defendant of the alleged breach within a reasonable time after its discovery, Defendant’s

motion to dismiss is granted, without prejudice. Plaintiff is granted leave to amend in order to

repair this deficiency. See Tyman, 2017 WL 6988936, at *23 (granting leave to amend breach of

express warranty where pleading may be curable by amendment).




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                                        IV.     Punitive Damages

       Defendant claims that Plaintiff has not offered sufficient factual allegations to support a a

claim for punitive damages under GBL § 349. (Def. Mot. 23–24.) Plaintiff argues that punitive

damages are commonplace for GBL § 349 cases and that she plead sufficient factual allegations

to support such a claim. (Pl. Mot. 18–19.)

       The New York Court of Appeals has stated that “[a]mong the remedies available to

private plaintiffs [under GBL § 349] are compensatory damages, limited punitive damages and

attorneys’ fees.” Karlin v. IVF America, Inc., 712 N.E.2d 662, 666 (1999) (citing GBL § 349(h));

see also Guzman v. Harris, 16-CV-3499 (GBD) (RLE), 2017 WL 4386369, at *4 (S.D.N.Y.

Sept. 29, 2017) (“[a]s the court in Karlin, observed, private plaintiffs with GBL § 349 claims

may recover only compensatory damages, limited punitive damages and attorneys’ fees”)

(quotations and citation omitted). New York appellate courts have acknowledged that a Plaintiff

may seek punitive damages “in the context of a cause of action predicated upon an alleged

violation of General Business Law § 349.” Ural v Encompass Ins. Co. of America, 948 N.Y.S.2d

621, 625 (2d Dept. 2012) (citing Wilner v Allstate Ins. Co., 893 N.Y.S.2d 208, 218 (2d Dept.

2010)). Generally, an “award of punitive damages is warranted where the conduct of the party

being held liable evidences a high degree of moral culpability, or where the conduct is so

flagrant as to transcend mere carelessness, or where the conduct constitutes willful or wanton

negligence or recklessness.” Pellegrini v Richmond Cnty. Ambulance Serv., Inc., 851 N.Y.S.2d

268, 269 (2d Dept. 2008) (quotations and citation omitted).

       Defendant’s motion to dismiss Plaintiff’s prayer for punitive damages pursuant to GBL §

349 is denied. Plaintiff alleged sufficient facts to support a claim for punitive damages at this

stage and the text of GBL § 349, as well the related jurisprudential interpretations, permits, at a



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minimum, limited punitive damages.7 In this case, Plaintiff alleges that Defendant’s products are

marketed as “natural” when they, in fact, contain synthetic ingredients. The reasonable

consumer, acting reasonably, may expect a “natural” product to be free of synthetic ingredients.

Plaintiff further alleges that Defendant intentionally marketed the products as “natural” in order

to induce consumers to pay a price premium for the cosmetics. At the motion to dismiss stage,

Plaintiff’s allegations, accepted as true, evinces the plausibility of “conduct [that] is so flagrant

as to transcend mere carelessness” because under these facts, it is plausible that Defendant’s use

of the word “natural” on their labels and packaging, despite using synthetic ingredients in their

products, was more intentional than careless. See Ural, 948 N.Y.S.2d at 625; Wilner, 893

N.Y.S.2d at 218 (denying motion to dismiss punitive damages because Plaintiff alleged that

Defendant’s acted intentionally in order to induce a particular result); compare with Bracken v.

MH Pillars Inc., 15 Civ. 7302 (RA) (GWG), 2017 WL 5901015, at *6 (S.D.N.Y. Nov. 29, 2017)

(denying punitive damages because Plaintiff solely made conclusory allegations). Thus,

Defendant’s motion is denied.

                                        MOTION TO STAY

       Defendant moves to stay all remaining claims pursuant to the primary jurisdiction

doctrine. (Def. Points and Auth. in Supp. of Mot. to Stay (“Def. Mot. Stay”), 4, ECF No. 34.)



7
  Although it appears that there is a question regarding whether GBL § 349 allows for traditional
punitive damages or strictly limited punitive damages, it is not necessary to reach that issue at
this stage because the parties did not address it and the standard for each is the same. Bracken v.
MH Pillars Inc., 15 Civ. 7302 (RA) (GWG), 2017 WL 5901015, at *6 (S.D.N.Y. Nov. 29, 2017)
(“it is not necessary to reach this issue because, where punitive damages are permitted, it is only
where the conduct of the party being held liable evidences a high degree of moral culpability, or
where the conduct is so flagrant as to transcend mere carelessness, or where the conduct
constitutes willful or wanton negligence or recklessness”) (quotations and citations omitted); see
also Molgora v. Sharinn & Lipshie, P.C., 17-CV-03766 (SN), 2018 WL 739581, at *1 (S.D.N.Y.
Feb. 6, 2018) (noting the dispute concerning availability of punitive or limited punitive damages
under § GBL 349).
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Defendant argues that the Court should stay this case because the FDA opened a pre-rule making

docket to obtain information and comments regarding the use of the term “natural” in the

labeling of human food products. (Id. at 2.) Defendant posits that because the Food and Drug

Administration (“FDA”) has primary jurisdiction over claims concerning the meaning of the

word “natural” in the cosmetics sphere, this Court should stay the present case in anticipation of

the definition of the term “natural” with regards to human food products. Defendant’s Motion to

Stay is denied.

       “The primary jurisdiction doctrine is relatively narrow in scope.” Segedie, 2015 WL

2168374, at *13 (quotations omitted) (quoting In re Frito–Lay, 2013 WL 4647512, at *7). This

doctrine “is concerned with ‘promoting proper relationships between the courts and

administrative agencies charged with particular regulatory duties.’” Ellis v. Tribune Television

Co., 443 F.3d 71, 81 (2d Cir. 2006) (quoting United States v. W. Pac. R.R. Co., 352 U.S. 59, 63

(1956)). Courts generally consider four factors: “(1) whether the question at issue is within the

conventional experience of judges or whether it involves technical or policy considerations

within the agency’s particular field of expertise; (2) whether the question at issue is particularly

within the agency’s discretion; (3) whether there exists a substantial danger of inconsistent

rulings; and (4) whether a prior application to the agency has been made.” Ellis, 443 F.3d at 82–

83. Primary jurisdiction is properly applied “whenever enforcement of the claim requires the

resolution of issues which, under a regulatory scheme, have been placed within the special

competence of an administrative body.” Id. (quoting W. Pac. R.R. Co., 352 U.S. at 64). When

applicable, “a court defers to the agency for advisory findings and either stays the pending action

or dismisses it without prejudice,” being careful not to disadvantage either party. Johnson v.

Nyack Hosp., 86 F.3d 8, 11 (2d Cir. 1996).



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       Defendant’s motion is denied because the primary jurisdiction doctrine does not bar the

Court from entertaining the present case. With respect to the first factor, it is well settled that the

doctrine does not apply when “the issue at stake is legal in nature and lies within the traditional

realm of judicial competence.” Goya Foods, Inc. v. Tropicana Products, Inc., 846 F.2d 848, 851

(2d Cir. 1988) (collecting cases). The present case is “far less about science than it is about

whether a label is misleading, and the reasonable-consumer inquiry upon which some of the

claims in this case depends is one to which courts are eminently well suited, even well versed.”

In re Frito-Lay, 2013 WL 4647512, at *8 (quotations and citations omitted); Goldemberg, 8 F.

Supp. 3d at 476 (finding that whether the use of the term “Active Naturals” is deceptive or

misleading is a question which courts are well suited to entertain); Ault, 2014 WL 1998235, at *5

(finding that the primary jurisdiction doctrine does not apply because “[t]he issue is whether the

use of the phrase ‘All Natural’ was likely to mislead a reasonable consumer acting reasonably

under the circumstances) (quotations and citation omitted). Determining whether a reasonable

consumer acting reasonably would find the term “natural” deceptive when a product contains

both natural and synthetic ingredients is a question this Court and Jury are well suited to

entertain. Goldemberg, 8 F. Supp. 3d at 476–77. Accordingly, this factor weighs against

applying the primary jurisdiction doctrine.

       Turning to the second factor, determining the definition of “natural” as “used in

cosmetics labeling is undeniably within the FDA’s discretion, as the agency is charged with

ensuring product safety, 21 U.S.C. § 393(b)(1)-(2), and may promulgate regulations accordingly,

id. § 371(a).” Goldemberg, 8 F. Supp. 3d at 477. The FDA also has discretion to determine

whether a label is misleading. 21 U.S.C. § 632(a). Accordingly, this factor weighs towards

applying the primary jurisdiction doctrine.



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       The third and fourth factor, however, weigh against applying the primary jurisdiction

doctrine. A risk of substantial danger of inconsistent rulings does not exist because Plaintiff’s

claims do not require a finding of what “natural” means. Rather, the claims ask whether a

reasonable consumer acting reasonably would be misled by a label displaying the word “natural”

when the product contains synthetic ingredients. In any event, Defendant’s requests to stay the

case pending the FDA’s definition of “natural” with regards to human food products would not

be particularly helpful. (Def. Mot. Stay 1.) As instructive as that definition may be, it ultimately

involves a significantly different subject matter, namely, food products instead of cosmetics. See

Segedie, 2015 WL 2168374, at *13 (“There is little danger of inconsistent rulings because the

[FDA] is not ‘contemplating the same issue’”). Further, as both parties note, the FDA has not

promulgated a formal rule or policy explaining when cosmetics may be labeled “natural.”

Moreover, although a FDA-created definition of the term “natural” with regards to cosmetics

would be helpful, and is certainly welcomed, it is not necessary for the purposes of this case. See

In re Frito-Lay, 2013 WL 4647512, at *8 (“There is no telling, if [the FDA] even chose to

respond with any directive to the Court's referral, how the FDA would define the term

[‘natural’], and whether its definition would shed any further light on whether a reasonable

consumer is deceived by the ‘All Natural’ food label when it contains bioengineered

ingredients”). The third factor, then, weighs against applying the doctrine.

       Turning to the fourth, and final, factor, Defendant asserts that “citizens and Federal

district courts have petitioned the FDA for guidance on the term ‘natural’ on cosmetics.” (Def.

Mot. Stay. 8.) Additionally, many of the comments the FDA received concerning the use of the

term “natural” with respect to human food products also contain comments regarding cosmetics.

Id. This argument is unavailing. Second Circuit precedent is clear. If a prior application to the



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FDA is present, this factor weighs in favor of a stay. On the other hand, if prior application to the

FDA is absent, this factor may weigh against the stay. Ellis, 443 F.3d at 89. In this case,

Defendant makes no indication that an application to the FDA was made.8 Therefore, this factor

weighs against the doctrine’s application. See id.

       Accordingly, as most factors weight against applying the doctrine of primary jurisdiction,

the Court declines to stay the instant case. Defendant’s motion is denied.




8
  Defendant argues that various requests were made to the FDA by several United States District
Courts for a definition of “natural” with respect to cosmetic products (Def. Mot. Stay. 8.) and
cites to Astiana v. Hain Celestial Group, Inc., 783 F.3d 753, 761 (9th Cir. 2015) for support.
Those requests were answered, as the Ninth Circuit noted, when the FDA “decline[d] to make a
determination at that time with respect to labeling genetically engineered ingredients as
‘natural.’” Id. (quotations and citation omitted). Defendant asks this Court to disregard the
FDA’s answer and instead stay the case, pending the FDA’s definition of “natural” in human
food products. The Court declines to do so because despite the informative nature of such a
definition, the FDA is not contemplating the same issue presented in this case and there are no
factual allegations to support the conclusion that an application concerning the use of the term
“natural” with respect to cosmetics is before the FDA. See Ault, 2014 WL 1998235, at *6
(“While any FDA views on what ‘natural’ means may be relevant to this inquiry, they are not
dispositive”) (citations omitted).
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                                          CONCLUSION

         For the foregoing reasons, Defendant's Motion to Dismiss is denied in part and granted in

part without prejudice, and with leave to amend the breach of express warranty claim in

conformity with this opinion. The Clerk of Court is respectfully requested to tenninate the

motions at ECF Numbers 33 & 34.

         Plaintiff is directed to file an Amended Complaint in conformity with the above on or

before April 20, 2018. Failure to timely file an Amended Complaint will result in the dismissal

of the breach of express warranty claim. Defendant shall answer or seek a pre-motion conference

on any potential motions to dismiss by May 11, 2018.

         An in-person Initial Pre-trial Conference is scheduled for May 25, 2018 at 12:30 p.m., at

the United States Courthouse, 300 Quan-opas Street, Courtroom 218, White Plains, New York

10601. The parties shall confer in accordance with Fed. R. Civ. P. 26(f) at least 21 days prior to

the conference and attempt in good faith to agree upon a proposed discovery plan that will ensure

trial readiness within six months of the conference date. The patties shall also complete a Civil

Case Discovery Plan and Scheduling Order, submit the plan to the Coutt prior to May 25, and

bring it to the conference.




                                                      ~
Dated:    March 30, 20 I 8
          White Plains, New York


                                                         United States District Judge




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